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                                             ORDERED.

          Dated: October 08, 2019




                               UNITED STATES BANKRUPTCY COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                       ORLANDO DIVISION
                                       www.flmb.uscourts.gov

In re :                                                            Case Number 6:19-bk-04681-CCJ
                                                                   Chapter 7

Brian Thaddeus Williams and
Melody Ann Williams,
                             Debtor(s).
______________________________________/

                   ORDER AUTHORIZING RETENTION OF BK GLOBAL REAL
                 ESTATE SERVICES AND ANTHONY DISANO AS LISTING AGENT

           THIS CASE came on for consideration without hearing on the Trustee’s (I) Application to Retain
BK Global Real Estate Services to Procure Consented Private Sale Pursuant to 11 U.S.C. §§ 327, 328, and
330, and (II) Application to Retain Anthony Disano of ParkVue Realty Corporation as Listing Agent and
to Procure Consented Private Sale Pursuant to 11 U.S.C. §§ 327, 328, and 330, (docket no. 14) filed October
7, 2019. Based upon the facts set forth in the application and declarations by BK Global Real Estate Services
and the Listing Agent, the Court concludes that BK Global Real Estate Services and the Listing Agent do
not hold or represent an interest adverse to the estate and are disinterested persons within the meaning of §
101(14) of the Bankruptcy Code. The Court further concludes that BK Global Real Estate Services and the
Listing Agent are qualified to represent the Trustee and that the Court’s authorization of their employment
is in the best interest of the estate. Accordingly, it is
           ORDERED the Application is granted and the Court approves the retention of BK Global Real
Estate Services and Anthony Disano of ParkVue Realty Corporation to sell real property located at 431
Park Lane, Lake Bluff, IL 60044, Parcel ID # 1220305006. BK Global Real Estate Services (“BKRES”)
and Listing Agent shall be compensated in accordance with the BKRES Declaration and Listing Agreement,
respectively, and such compensation shall be subject to the provisions of § 330 of the Bankruptcy Code.
Upon a sale of property to a third party, BKRES and Listing Agent shall receive a 6% commission, paid by

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Secured Creditor. In the alternative, if the property is transferred to Secured Creditor, BKRES shall receive
a 2% commission, paid by Secured Creditor, $500.00 of which shall be paid to Listing Agent. Secured
Creditor’s proposed compensation of BKRES and Listing Agent shall be disclosed in any Motion for Order
approving sale of Property. BK Global Real Estate Services and Listing Agent shall be authorized to receive
and retain their fees from Secured Creditor at the successful closing of the sale of the Property, in
accordance with the Order approving sale. The estate shall, in no circumstance, be obligated to compensate
BKRES or Listing Agent. BKRES and Listing Agent shall not have a claim against the estate for any
unpaid amounts. BKRES and Listing Agent, and anyone claiming by, through or under either of them,
shall only have recourse for recovering fees from Secured Creditor. The estate shall have no liability for
any such claims. BKRES and Listing Agent shall not be awarded any compensation at an hourly rate.
Compensation will be determined later in accordance with 11 U.S.C. § 330. The hourly rate is not
guaranteed and is subject to review.

Special Counsel Kristen L. Henkel is directed to serve a copy of this Order on interested parties who do
not receive service by CM/ECF and file a proof of services within 3 days of entry of the Order.




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